    Case 2:14-cr-00284-JTM-KWR         Document 270      Filed 03/07/16      Page 1 of 4




.
                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                       CRIMINAL ACTION


VERSUS                                                         NO: 14-284


BRANDON LICCIARDI                                              SECTION: “H”(4)


                              ORDER AND REASONS
       Before the Court are Defendant Brandon Licciardi’s Motion to Dismiss
All Counts of the Indictment on Double Jeopardy Grounds (Doc. 204) and
Motion for Judicial Referral to the Department of Justice (Doc. 203).
Defendant Erik Nunez joins in the arguments asserted in these Motions.1 For
the following reasons, the Motions are DENIED.




       1 See Doc. 231, wherein the Court granted Mr. Nunez’s request to adopt the

foregoing Motions with regard to the indictment’s allegations against him.
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   Case 2:14-cr-00284-JTM-KWR     Document 270     Filed 03/07/16   Page 2 of 4




                               BACKGROUND
      On October 22, 2015 the Grand Jury returned a six-count Third
Superseding Indictment charging Defendants Brandon Licciardi and Erik
Nunez with various criminal violations.2        Counts One and Two of this
indictment charge Mr. Licciardi with witness tampering in violation of 18
U.S.C. § 1512(b)(2)(A).3    Count Three charges Mr. Nunez with witness
tampering in violation 18 U.S.C. § 1512(c)(1).4 Count Four charges both Mr.
Licciardi and Mr. Nunez with conspiracy to distribute Schedule I and Schedule
IV drug controlled substance with the intent to commit rape.5 Counts Five and
Six charge Mr. Licciardi with distribution of Schedule I and Schedule IV drug
controlled substances with the intent to commit rape.6 Defendants filed the
instant motions seeking dismissal of this case. The Government opposes.


                            LAW AND ANALYSIS
      Defendants seek dismissal of the entirety of the indictment based on the
double jeopardy clause of the Fifth Amendment to the Constitution.7
Relatedly, they ask the Court to refer this prosecution to the Department of
Justice for violation of the department’s internal Petite policy, which regulates



      2 Doc. 168.
      3 Doc. 168
      4 Doc. 168
      5 Doc. 168
      6 Doc. 168
      7 Doc. 204.

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   Case 2:14-cr-00284-JTM-KWR           Document 270        Filed 03/07/16     Page 3 of 4




federal prosecutions following a prior state or federal prosecution based on
substantially the same acts or transactions.8
       Defendants ask the Court to dismiss this prosecution on double jeopardy
grounds because it is based on the same operative facts as a parallel state
prosecution. Defendants acknowledge, however, that to do so the Court must
necessarily overturn longstanding jurisprudence concerning the separate
sovereignties doctrine. The Supreme Court has long held that a Defendant’s
conduct in violation of the law of two separate sovereigns constitutes two
distinct offenses for the purposes of the double jeopardy clause.9 “When a
defendant in a single act violate the ‘peace and dignity’ of two sovereigns by
breaking the laws of each, he has committed two distinct offenses.”10
Accordingly, double jeopardy protections are not implicated in this case.
Defendants candidly admit that they are without authority to support the
reversal of this longstanding doctrine.                Though the Court appreciates
Defendants’ arguments, it declines to upend longstanding doctrine without any
authority from a higher court.
       The Court likewise declines to judicially refer this matter to the
Department of Justice for a violation of the Petite Policy. The parties agree
that this policy does not implicate the Constitution and confers no substantive


       8 Doc. 203.
       9 See, e.g., Robertson v. U.S. ex rel. Watson, 560 U.S. 272 (2010); U.S. v. Lara, 541

U.S. 193 (2004); Koon v. U.S., 518 U.S. 81 (1996); Heath v. Alabama, 474 U.S. 82 (1985);
Waller v. Florida, 397 U.S. 387 (1970); U.S. v. Lanza, 260 U.S. 377 (1922); Grafton v. U.S.,
206 U.S. 333 (1907); Moore v. People of State of Illinois, 55 U.S. 13, 20 (1852).
       10 Heath v. US, 474 U.S. 82, 88 (1985).

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   Case 2:14-cr-00284-JTM-KWR    Document 270      Filed 03/07/16   Page 4 of 4




rights on a defendant. It is an internal policy meant to guide the exercise of
prosecutorial discretion.   Accordingly, there is no basis for this Court’s
involvement in the administration of the policy.


                                CONCLUSION
      For the foregoing reasons, Defendants’ Motion to Dismiss All Counts of
the Indictment on Double Jeopardy Grounds (Doc. 204) and Motion for Judicial
Referral to the Department of Justice (Doc. 203) are DENIED.


            New Orleans, Louisiana this 7th day of March, 2016.



                                    ____________________________________
                                    JANE TRICHE MILAZZO
                                    UNITED STATES DISTRICT JUDGE




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